
DOWNEY, Chief Judge.
ON PETITION FOR REHEARING
In his petition for rehearing the appellee has pointed out that in the recent case of State v. Abreau, 363 So.2d 1063 (1978) by the Supreme Court of Florida, the court held that the rule set forth in DeLaine v. State, 262 So.2d 655 (Fla.1977), is still the law of Florida. Having reconsidered our opinion filed June 7, 1978, in the light of State v. Abreau, supra, the appellee’s petition for rehearing is granted, our opinion filed June 7, 1978, is withdrawn and the judgment and sentence appealed from is affirmed.
LETTS and MOORE, JJ., concur.
